Case 2:04-cr-20237-.]P|\/| Document 50 Filed 07/08/05 Page1`0f2 Page|D 48

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FOR THE wEsTERN DlsTRlcT oF TENNEssE
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uNlTED sTATEs oF AMERch _wmgj;;§ iii

P|alntiff

VS.
CR. NO. 04-20237-D

REG|NALD MCW|LL|AN|S

Defendant.

 

oRDER oN CoNTlNuANcE AND sPEciFYiNG PERloD 0F ExcLuDABLE DELAY
AND SE'|'I'|NG

 

This cause came on fora report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
re ort date of Thursda Ju| 21 2005 at 9:30 a.m.. in Courtroom 3. 9th F|oor of the

 

Federa| Bui|ding, Nlemphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T lS SO ORDERED this cf day of Ju|y, 2005.

    

|CE B. DON D
U |TED STATES D|STR|CT JUDGE

With Ru|e 5a and/or 32(5} FHCrP on __

Thls document entered on the docket sheet compliance m
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UNITED sTATE DISTRIC COURT - WE TERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
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Honorable Bernice Donald
US DISTRICT COURT

